sunporno.com                                                                http://www.robtex.com/dns/sunporno.com.html#summary


                                                                  Domain Information > com > sunporno | Swiss Army Knife | FAQ
                         powered by
                                              774     Like   6K                  582
                                                                                                 StumbleUpon


         sunporno.com
           Result                 Records   Graph   Shared        Whois       Blacklists       Analysis       Contact




                    Case 3:11-cv-03041-MWB-LTS Document 26-3 Filed 02/27/12 Page 1 of 4

1 of 4                                                                                                            9/28/2011 1:52 AM
sunporno.com                                                                                         http://www.robtex.com/dns/sunporno.com.html#summary



                                                                                                                        Chitika |   Opt out?
                        Bluehost Official Site                        $3.96 Web Hosting                             $7.95/mo SEO Hosting
                        Professional Web Hosting - Free               Unlimited Disk Space, Bandwidth.              Unique IP Included.PHP/SSL
                        Domain Only $6.95                             99.9% Uptime Guarantee.                       Support.Unlimited Web Space,
                                                                                                                    Traffic & more
                        http://www.bluehost.com                       hostgator.com                                 http://www.doteasy.com

          Sunporno.com is a domain controlled by two domain name servers at public-ns.com. Both are on different IP networks. The primary
          name server is ns5.public-ns.com. Incoming mail for sunporno.com is handled by two mail servers at sunporno.com themselves. Both are
          on different IP networks. sunporno.com has one IP number (213.174.154.204).
          Www.sunporno.com point to the same IP and also shares name servers. Mature-uniform.com, lesbianscuties.com, beer999.com, silvia-
          saint-movies.net, maledomsex.com and at least 200 other hosts share name servers with this domain. Naggum.net, nakedbeach.net,
          royal-cash.net, asiantrans.net, pornpics-online.net and at least twelve other hosts share mail servers under another name with this
          domain. Thumbs3.sunporno.com, mail.sunporno.com, thumbs1.sunporno.com, mail2.sunporno.com, wmlwww.sunporno.com and at least
          eight other hosts are subdomains to this hostname.
          You might also be interested in domains looking similar: sunporneo.com, sunpornos.com, sunpornno.com, sunporna.com, sunporne.com
          and sunpornon.com or the competitors: www.keezmovies.com, youngleafs.com, xxxbunker.com, nastyrat.com, xnxx.com and
          twilightsex.com. Also check www.sunporno.com.
          Sunporno.com is ranked #998 world wide and is hosted on a server in United States. It has gained 1671 inlinks over a period of ten
          years. The Google Pagerank™ of sunporno.com is 4. It has 21988 organic keywords.
          Child safety of this site is very poor. Trustworthiness, vendor reliability and privacy is unsatisfactory. (more on reputation).It is not
          listed in any blacklists.It might contain adult material! Search for sunporno.com.




          Pages
          www.sunporno.com
           /                                      Porn Tube, Free Porn Movies, Porno Videos, Hot XXX Clips, Pussy ...
                                                  Porno tube movies featuring teen porn videos, amateur porn and private
                                                  homemade movies, mature sex clips. Free full length XXX videos and wild
                                                  hardcore ...
                                                  Keywords: porn (position #6)porno (position #3)sunporno (position #1)free hot porn (position
                                                  #1)hot videos (position #1)hot porn (position #2)sun porno (position #1)porn pics (position
                                                  #11)free porn sites (position #10)
               /tag/gags/                         Free Sex videos at Sun Porno Tube
                                                  If you want more TOP RATED movies, press F5 to refresh this page. 1 2 3 4 5 6 7
                                                  8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31 32 33 ...
               /page2.html                        Keywords: free xxx videos (position #1)
               /tag/clits/                        Free Sex videos at Sun Porno Tube
                                                  If you want more TOP RATED movies, press F5 to refresh this page. 1 2 3 4 5 6 7
                                                  8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31 32 33 ...
               /tag/drunk/                        Free Sex videos at Sun Porno Tube
                                                  If you want more TOP RATED movies, press F5 to refresh this page. 1 2 3 4 5 6 7
                                                  8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31 32 33 ...
               /tag/tatoos/                       tatoos - Free Sex videos at Sun Porno Tube
                                                  Cute gay latino boy strips and masturbates in the bathroom Cute gay latino boy
                                                  strips... Dur: 5:23. Tags: gay masturbation · Eva angelina valentine cumshot ...
               /tag/nipples/                      Free Sex videos at Sun Porno Tube
                                                  Apr 19, 2011 ... If you want more TOP RATED movies, press F5 to refresh this page. 1 2 3 4 5 6 7
                                                  8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 ...
               /tag/virgins/                      Free Sex videos at Sun Porno Tube
                                                  If you want more TOP RATED movies, press F5 to refresh this page. 1 2 3 4 5 6 7
                                                  8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31 32 33 ...
               /tag/teachers/                     Free Sex videos at Sun Porno Tube
                                                  If you want more TOP RATED movies, press F5 to refresh this page. 1 2 3 4 5 6 7
                                                  8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31 32 33 ...
               /tag/whipping/                     Free Sex videos at Sun Porno Tube
                                                  If you want more TOP RATED movies, press F5 to refresh this page. 1 2 3 4 5 6 7
                                                  8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31 32 33 ...
               /movies/cumshots/                  Free Sex videos at Sun Porno Tube
                                                  If you want more TOP RATED movies, press F5 to refresh this page. 1 2 3 4 5 6 7
                                                  8 9 10 11 12 13 14 15 16 17 18 19 20 21 22 23 24 25 26 27 28 29 30 31 32 33 ...
               /tube/videos/.../dildo-fun.html    Dildo Fun
                                                  Tweet:The bigger the better,that
               /tube/videos/62935/t...e-          The new housemaid
               new-housemaid.html
               /tube/videos/408754/...dick-       Happy dick penetrates
               penetrates.html
               /tube/videos/430397/...se-         Japanese muscular gay
               muscular-gay.html


                            Case 3:11-cv-03041-MWB-LTS Document 26-3 Filed 02/27/12 Page 2 of 4

2 of 4                                                                                                                                         9/28/2011 1:52 AM
sunporno.com                                                                              http://www.robtex.com/dns/sunporno.com.html#summary


           /tube/videos/423353/...-have-   These girls have some cock
           some-cock.html
           /tube/videos/437760             Tiffany Haze Masturbating 2
           /...-masturbating-2.html
           /tube/videos/63202/m...-big-    Madison and the big black cock
           black-cock.html
           /tube/videos/35371/j...getting- Japanese big tits getting fondled
           fondled.html                    Tweet:This babe
           /tube/videos/36508              Teen want sex after massage
           /t...aec,0&sms_ss=twitter
          m.sunporno.com
           /videos/413162/redhe...s-pussy- Redhead with shaved pussy gets pussy licking
           licking.html
          Organic competitors
              Domain       Common Keywords
           youtube.com      13338
           xvideos.com      12895
           slutload.com     10527
           pornhub.com      9769
           xnxx.com         8767
           xhamster.com     8634
           youporn.com      7350
           xxxbunker.com    6874
           filestube.com    5994
           spankwire.com    4992
          Full SEO report

            Domain Name Google Related Alexa Similar Organic Competitor
          pornhub.com     X                          X
          xxxbunker.com                              X
          youngleafs.com               X
          xnxx.com                                   X
          nastyrat.com                 X
          yobt.com        X
          spankwire.com                              X
          twilightsex.com              X
          xxxvogue.net                 X
          xhamster.com                               X
          teen-hot.com                 X
          rawtube.com     X
          tnaflix.com     X
          xmovies.com                  X
          filestube.com                              X
          sexdreambox.com              X
          vagosex.com     X
          youporn.com                                X
          el-ladies.com                X
          porn365.com     X
          xvideos.com                                X
          pichunter.com   X
          slutload.com                               X
          pornomovies.com X
          youtube.com                                X
          videoshome.com               X
          empflix.com     X
          imagefest.com                X
          keezmovies.com X




          md5:4d236d9a2d102c5fe6ad1c50da4bec50:com
          md5:589e44666bf9d15d842e48f45c5b677b:snporno.com
          md5:c24db1a60ca086a22d8972c8016d112a:snuporno.com
          md5:c42c588144cc113f10e63fe6516e39f3:ssunporno.com
          md5:5940388b6cf39d04281e340f033c231f:sunnporno.com
          md5:fa0c45b0cd0cb8cf20073a3b3f5c93f1:sunoprno.com
          md5:24425315be23b655c73e9f7b5ecddc52:sunorno.com
          md5:ae295d8469965ffe1da64fb975701641:sunpono.com
          md5:9e3bce94f356d4496590e9d4b0b3ab89:sunponro.com
          md5:4bf78a53d31fbe73943768762c07b9e6:sunpoorno.com


                      Case 3:11-cv-03041-MWB-LTS Document 26-3 Filed 02/27/12 Page 3 of 4

3 of 4                                                                                                                     9/28/2011 1:52 AM
sunporno.com                                                      http://www.robtex.com/dns/sunporno.com.html#summary


           md5:1fe472f3390b635b7e4fdfe4c9b2231f:sunporn.com
           md5:f0d5759363f6d6deea14d9e909a55514:sunporn.ocom
           md5:568ae52f70eccc0255069179218b3c8a:sunpornno.com
           md5:ac837973c3648dd268f71246d9410865:sunporno
           md5:67769620d55c91611bd2de78f07858d9:sunporno..com
           md5:9e7a2b489256e92d5ebd75daea0d9122:sunporno.ccom
           md5:5e258319a3bd7ed77ca78dbe3b6349d1:sunporno.cm
           md5:39a83d6c2b3f8535c374598b1062d344:sunporno.cmo
           md5:c946fedee93a4891f866221ea66d3d13:sunporno.co
           md5:6726c81067f5467ff6eaf9479ae33187:sunporno.com
           md5:fff261c8efd50d14ec9ec19edb7973a0:sunporno.comm
           md5:2c5d2f84b94f36e477f0d28ef21f61f4:sunporno.coom
           md5:343dec42b6d66aa7c2e543548a27c19c:sunporno.ocm
           md5:8965c630a1813644539bf63309b921ee:sunporno.om
           md5:a0f1c91a6b721dee56e18abd433cf5dd:sunpornoc.om
           md5:6f5d9779e401a1200bab644083d81dcb:sunpornocom
           md5:1e3a036d96086fa742d476f06678a857:sunpornoo.com
           md5:749031dde64ba9e4d1a71b0d440f0edd:sunporo.com
           md5:d28c2456e7102eb534c83f676e8e90ca:sunporon.com
           md5:1289c2851ae56ca95ef4c52701fc1919:sunporrno.com
           md5:9f273d8bb65148ab2eea7308f6e340cd:sunpporno.com
           md5:adb69f9b834123b131ab08ef4fbdf2d1:sunprno.com
           md5:f36deda4e8852ea2cc979adcbc0618c9:sunprono.com
           md5:3c6c6e326edaee753f989233539fe0aa:supnorno.com
           md5:16588b6ec5be95d2d5d2cab989c95528:suporno.com
           md5:bad17a03876844df9a5794ac2dc4827b:suunporno.com
           md5:6f8d28d5162e64424965bfcb71de8ad8:unporno.com
           md5:29ad97f2d361b1d6913d53e6fd094961:usnporno.com

         random




                     Case 3:11-cv-03041-MWB-LTS Document 26-3 Filed 02/27/12 Page 4 of 4

4 of 4                                                                                             9/28/2011 1:52 AM
